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14
                             UNITED STATES DISTRICT COURT
15
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                SA CR No. 19-061-JVS
17
               Plaintiff,                     JOINT REPORT
18
                     v.                       Hearing Date: July 8, 2019
19                                            Hearing Time: 9:00 a.m.
     MICHAEL JOHN AVENATTI,                   Location:     Courtroom of the
20                                                          Hon. James V. Selna
               Defendant.
21

22

23         Pursuant to the Court’s June 19, 2019, Minute Order (CR 43),

24   plaintiff United States of America, by and through its counsel of

25   record, the United States Attorney for the Central District of

26   California and Assistant United States Attorneys Julian L. André and

27   ///

28   ///
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1    Brett A. Sagel, and defendant MICHAEL JOHN AVENATTI, by and through

2    his counsel of record, H. Dean Steward, hereby files their Joint

3    Report.

4

5    Dated: July 1, 2019                  Respectfully submitted,

6                                         NICOLA T. HANNA
                                          United States Attorney
7
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8                                         Assistant United States Attorney
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9

10                                            /s/ Julian L. André
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11                                        BRETT A. SAGEL
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12
                                          Attorneys for Plaintiff
13                                        UNITED STATES OF AMERICA

14
     Dated: July 1, 2019                      /s/ via email authorization
15                                        H. DEAN STEWARD

16                                        Attorney for Defendant
                                          MICHAEL JOHN AVENATTI
17

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1                                     JOINT REPORT
2    I.   THE COURT’S JUNE 19, 2019, MINUTE ORDER
3         On June 19, 2019, the Court issued a minute order (CR 43)

4    requiring the United States Attorney’s Office for the Central

5    District of California (the “USAO”) and defendant MICHAEL JOHN

6    AVENATTI (“defendant”) to file a joint report addressing the

7    following:

8         1.    Government discovery disclosures to date.

9         2.    Remaining government discovery disclosures and a timetable

10              for completion.

11        3.    A proposed schedule, including at least:

12              a.    Trial date.

13              b.    Final pretrial conference date.

14              c.    Government witness list disclosure date.

15              d.    Government exhibit disclosure date.

16              e.    Expert witness disclosure date.

17              f.    Last date for filing and hearing motions, including

18                    motions in limine.
19              g.    Date for disclosure of Jencks Act materials and

20                    witness statements.

21              h.    Dates(s) for interim status conference(s).

22        4.    Any logistical or other potential problems affecting the

23              proposed schedule.

24        5.    Anticipated length of trial.

25        6.    Use of a jury pool pre-screened for time.

26        7.    Any other matters the parties wish to discuss at the status

27              conference.

28
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1          The parties’ respective positions regarding these issues are set

2    forth below.

3    II.   GOVERNMENT’S DISCOVERY DISCLOSURES TO DATE
4          A.   USAO’s Statement
5               1.    Documents and Interview Reports

6          To date, the USAO has made the following discovery disclosures

7    to defendant:

8          1.   On May 22, 2019, the USAO produced approximately 113,000

9    pages of discovery materials, including, but not limited, the

10   following materials:

11              a.    Financial records, including bank records reflecting

12   the financial transactions set forth in the indictment;

13              b.    Documents obtained from third-parties, including

14   various business records, and emails and text messages reflecting

15   communications between defendant and the victim-clients identified in

16   the indictment, employees of defendant’s coffee company Global

17   Baristas U.S. LLC (“GBUS”), and other third-parties;

18              c.    Internal Revenue Service (“IRS”) tax records; and

19              d.    Transcripts of defendant’s prior testimony in various

20   legal proceedings.

21         2.   On June 5, 2019, the USAO produced approximately 9,000

22   pages of additional discovery materials, primarily consisting of

23   additional documents obtained from third-parties, including emails

24   and other records obtained from defendant’s former certified public

25   accountant (“CPA”).

26         3.   On June 28, 2019, the USAO produced approximately 16,000

27   pages of additional discovery materials, including additional

28   documents obtained from third-parties, and memoranda summarizing

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1    interviews with most of the potential government witnesses, including

2    the victim-clients identified in the Indictment.          The USAO has

3    voluntarily produced these witness statements at an early date in an

4    effort to ensure that defendant is prepared to proceed to trial as

5    soon as possible.

6         To date, the USAO has produced, subject to the Court’s May 20,

7    2019, Protective Order (CR 36), a total of approximately 138,903

8    pages of discovery materials.

9               2.    Digital Search Warrant Evidence

10        During the course of its investigation, the Internal Revenue

11   Service – Criminal Investigation (“IRS-CI”) obtained a number of

12   digital devices from various sources, including pursuant to

13   judicially-authorized search warrants.

14        On June 10, 2019, the USAO’s Privilege Review Team Assistant

15   United States Attorney (“PRTAUSA”) produced to defendant, subject to

16   the Court’s May 20, 2019, Protective Order (CR 36), complete forensic

17   copies of the accessible 1 digital devices that were: (1) seized from

18   defendant’s residence; (2) seized during defendant’s arrest; and

19   (3) obtained from former employees of GBUS. 2

20
          1 As discussed further below, the USAO and another U.S.
21   Attorney’s Office has possession of approximately four digital
     devices seized from defendant or his residence, which are currently
22   inaccessible because they are password-protected. The government
     will continue to attempt to gain access to these devices, but cannot
23   provide a forensic image of the devices to defendant until they have
     been accessed. To date, defendant has declined to provide the
24   password(s) for these devices, which would expedite providing him
     with the contents of the devices.
25
          2 The PRTAUSA also produced to defendant a copy of the cell-
26   phone extraction report for Client 3’s cellphone, as well as
     approximately 103 emails involving defendant that were extracted from
27   Client 3’s computer. Because Client 3 executed a limited waiver of
     the attorney-client privilege, these documents have already been
28   provided to the investigation team and will not be subject to a
     further privilege review.
                                        3
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1         As discussed further below, the USAO has not provided defendant

2    with forensic copies of the following digital devices: (1) the

3    computer server belonging to defendant’s former law firm, Eagan

4    Avenatti LLP (“EA LLP”); (2) devices seized from the residence of EA

5    LLP’s former office manager (“EA Employee 1”), which belong to EA

6    LLP; (3) devices seized from another law firm with which defendant

7    had a business relationship (“Law Firm 1”); and (4) the inaccessible

8    digital devices seized from defendant and defendant’s residence.

9         To date, defendant has produced no discovery.

10        B.    Defendant’s Statement
11        The government’s production to date has been woefully

12   inadequate.   While it may appear from the page counts and alleged

13   descriptions referenced above that the government has produced

14   significant amounts of information, on a percentage basis, the

15   information produced to date is far less than five percent (5%) of

16   what is required.

17        After charging Defendant with 36 counts in a lengthy “speaking”

18   indictment months ago, which purportedly followed a three-year

19   investigation, the government now refuses to produce millions of

20   pages of documents and huge amounts of electronic data (likely well

21   over 20 terabytes) that Defendant needs to defend himself—including

22   potential Brady and Giglio material.        The government has had this
23   information in its possession for months—perhaps years--and yet still

24   has not produced it (while continuing to grandstand and argue for an

25   early trial date).     The government’s refusal to produce this

26   information is even more egregious and inexplicable considering that

27   Defendant had unlimited access to nearly all of this information

28   until the morning of his arrest on March 25, 2019, yet the government

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1    now refuses to return even a copy to Defendant, while continuing to

2    access the same data in its own preparation for trial.           Simply put,

3    there is no reason why Defendant should not be afforded access to

4    this vast amount of information in connection with preparing his

5    defense, not to mention the fact that he requires this information in

6    order to meet his obligations as a practicing attorney who continues

7    to represent clients. 3

8         The government has taken this course of action despite repeated

9    requests for this information from defense counsel and this Court’s
10   clear directives at the last status conference, during which the
11   Court directed the government to promptly return seized items to the
12   Defendant and also expressed skepticism as to why a “privilege
13   review” would have to be done before returning/producing the items to
14   Defendant (an attorney) when the documents were previously in his
15   possession or control.
16        As this Court is aware, the indictment charges the Defendant

17   with conduct relating to multiple clients of Defendant, as well as

18   conduct concerning business interests of the Defendant.           Despite

19   this, the government has essentially refused to provide Defendant

20   with the entirety of his business files that existed prior to the

21   date of his arrest on March 25, including emails, time records,

22   accounting records, pleadings reflecting work done for clients,

23   documents demonstrating client consent, correspondence with clients,

24   etc. To be clear, the government has refused to provide the

25   following, among other things:

26

27
          3 In prior communications, the government has been overt in its
28   attempts to interfere with Defendant’s attempts to continue to make a
     living through the practice of law.
                                        5
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1                     a.    Defendant’s correspondence and emails with his
                            clients, including the clients referenced in the
2                           indictment.
3                     b.    Defendant’s client files, including for those
                            clients referenced in the indictment.
4
                      c.    Defendant’s accounting, tax and cost records,
5                           including for those clients referenced in the
                            indictment.
6
                      d.    Defendant’s time records, including for those
7                           clients referenced in the indictment.
8                     e.    Defendant’s settlement communications and
                            documentation, including for those clients
9                           referenced in the indictment.
10                    f.    Defendant’s emails relating to the charges in the
                            indictment.
11
                      g.    Defendant’s emails with his tax professionals and
12                          others relating to his taxes.
13         The government’s excuse that some of this information belongs to

14   “Eagan Avenatti, LLP” is without merit and is a red herring.

15   Defendant founded EA in 2007 with two other partners.            He was the

16   Managing Partner of EA at all relevant times (since 2011) and remains

17   in that role to this day.       He presently owns 100% of the law firm and

18   has owned a controlling interest in the firm since 2011.            Finally, at

19   all relevant times, all clients of EA were clients of Defendant.

20   Indeed, at all relevant times, no client could become a client of EA

21   without Defendant’s knowledge and consent.

22         Without the return and/or production of the information, it is

23   literally impossible for the Defendant to mount a defense in this

24   case, let alone continue to represent his clients or properly

25   transition those clients to other attorneys.

26

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1    III. OUTSTANDING DISCOVERY ISSUES
2          A.   USAO’s Statement
3               1.    Non-Search Warrant Evidence

4          The vast majority of documentary evidence and interview reports

5    relating to the charges in the indictment case have already been

6    produced to defendant.      The USAO, however, is still processing

7    additional documents and records it obtained from third-parties, as

8    well as additional interview reports.         The USAO and IRS-CI are also

9    still conducting additional witness interviews and collecting

10   evidence from additional sources.        The USAO will produce any newly

11   obtained documents and records on a rolling basis going forward.                The

12   USAO does not believe that this evidence will be particularly

13   voluminous.

14         Additionally, the USAO is scanning additional hard-copy records,

15   including two boxes of records obtained from the IRS Revenue Officer

16   who handled the GBUS payroll tax collection action between October

17   2016 and March 2018, and three boxes of records obtained from

18   defendant’s CPA.     The USAO offered to make these records available

19   for defendant’s counsel to review at the USAO or IRS-CI’s offices,

20   but defense counsel indicated that he would prefer that the USAO just

21   produce the scanned copies.       Due to the nature of the hard-copy

22   records and how they were stored, the USAO anticipates it could take

23   approximately one month to finish scanning these documents.

24         Finally, the USAO is in possession of approximately two boxes of

25   mail relating to GBUS.      The USAO has advised defense counsel that it

26   will not be scanning these documents because they are unlikely to

27   contain any relevant information.        The USAO will, however, make them

28

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1    available for defense counsel to review at the USAO or IRS-CI’s

2    offices at a mutually convenient time.

3               2.    Digital Search Warrant Evidence

4                     a.    The USAO’s Review of the Digital Devices
5          During the course of its investigation, IRS-CI obtained the

6    following digital devices or forensic copies thereof:            (1) the

7    computer server belonging to EA LLP; (2) digital devices seized

8    during defendant’s arrest on March 25, 2019; (3) digital devices

9    seized from defendant’s residence; (4) digital devices seized from

10   the residence of EA Employee 1; (5) digital devices seized from Law

11   Firm 1; and (6) digital devices obtained from former GBUS employees.

12   The USAO and IRS-CI obtained warrants to search each of these devices

13   for evidence relating to the investigation and defendant’s

14   prosecution.    Undersigned government counsel understands that the

15   devices contain a total of approximately 20 TB of data.

16         The USAO and IRS-CI is reviewing the contents of each of these

17   devices, pursuant to the privilege review and other search protocols

18   set forth in the search warrants.        The USAO’s Privilege Review Team,

19   which is overseeing the initial scope review and subsequent privilege

20   review, has made substantial progress and expects to complete the

21   privilege review within the next three months. 4         The USAO will

22   produce any non-privileged documents falling within the scope of the

23   search warrants to the defense on a rolling basis.

24

25

26

27         4 Because the victim-clients named in the Indictment and the
     court-appointed bankruptcy trustee for GBUS have already executed
28   limited waivers of the attorney-client privilege, the USAO believes
     privilege disputes, if any, would be quite limited.
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1                     b.    Production of Forensic Copies of the Digital
                            Devices to Defendant
2
           At this time, the USAO has not provided defendant with forensic
3
     copies of the following digital devices: (1) the EA LLP computer
4
     server; (2) digital devices seized from the residence of EA Employee
5
     1; and (3) digital devices seized from Law Firm 1.
6
           With respect to the EA LLP computer server and the digital
7
     devices seized from EA Employee 1’s residence (collectively, the “EA
8
     Devices”), the USAO understands that the EA Devices belong to EA LLP,
9
     which is currently controlled by a court-appointed receiver (the “EA
10
     Receiver”), and are not defendant’s personal property.            The USAO also
11
     understands that the EA devices likely contain substantial amounts of
12
     attorney-client privileged information relating to third-parties,
13
     which defendant is not entitled to access.          Accordingly, on May 24,
14
     2019, the USAO informed defendant that it did not believe it would be
15
     appropriate for the USAO to provide defendant with complete forensic
16
     copies of the EA Devices without obtaining consent from the EA
17
     Receiver. 5   The EA Receiver has advised the USAO that it will not
18
     consent to the USAO producing complete forensic copies of the EA
19
     Devices to defendant.
20
           With respect to the digital devices seized from Law Firm 1, the
21
     USAO understands that these devices belong solely to Law Firm 1 and
22
     are likely to contain substantial amounts of attorney-client
23

24

25         5 To the extent defendant needs to access any of the materials
     on the EA Devices in order to represent his remaining legal clients,
26   the USAO has advised defendant that he should address this issue with
     the EA Receiver or seek relief from the Honorable Karen E. Scott,
27   United States Magistrate Judge, or the Honorable Virginia A.
     Phillips, United States District Judge, who are overseeing the
28   receivership in In re Eagan Avenatti LLP, No. CV 18-1644-VAP (C.D.
     Cal.).
                                        9
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1    privileged and confidential information relating to Law Firm 1’s

2    clients.   Accordingly, on May 24, 2019, the USAO informed defendant

3    that it did not believe it would be appropriate for the USAO to

4    provide defendant with complete forensic copies of these digital

5    devices without obtaining consent from Law Firm 1.           Counsel for Law

6    Firm 1 has advised the USAO that Law Firm 1 will not consent to the

7    USAO producing complete forensic copies of Law Firm 1’s digital

8    devices to defendant.

9          Although the USAO has not produced forensic copies of the

10   digital devices referenced above to defendant, on May 24, 2019, and

11   again during a meet-and-confer on June 26, 2019, the USAO offered to

12   discuss alternative procedures designed to ensure that defendant can

13   access any materials on the EA Devices that may be relevant to his

14   defense.   For example, the USAO requested that defendant’s counsel

15   consider whether providing defendant with the results of a broader

16   search for potentially relevant materials on the EA Devices, having

17   defendant and his counsel work with the Privilege Review Team to

18   identify and produce relevant materials on the EA Devices directly to

19   defendant, or allowing defendant’s counsel to review the complete

20   forensic copy of the EA Devices at IRS-CI’s offices would be

21   sufficient to address defendant’s concerns.

22         To the extent defendant does not believe any alternative

23   procedures would be sufficient to address defendant’s concerns and

24   that defendant should be provided with complete forensic copies of

25   the EA Devices or Law Firm 1’s devices, the USAO requests that the

26   Court set an expedited briefing schedule so that this issue can be

27   resolved as soon as possible.       The USAO would also request that any

28

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1    such briefing schedule provide an opportunity for the EA Receiver and

2    Law Firm 1 to be heard regarding defendant’s request.

3                     c.    Inaccessible Digital Devices
4          IRS-CI is currently in possession of an Apple desktop computer

5    seized from defendant’s residence, which is password protected and

6    has not yet been accessed.       The USAO understands that the United

7    States Attorney’s Office for the Southern District of New York (the

8    “SDNY USAO”) is also in possession of an iPhone, an iPad, and an

9    Apple laptop computer, which are password protected and have not yet

10   been accessed.     The USAO will produce to defendant forensic copies of

11   these devices if and when the USAO is able to access the devices.

12   The government, including the SDNY USAO, has advised defendant that

13   if defendant wishes to immediately obtain forensic copies of these

14   digital devices or access materials on these devices defendant will

15   need to provide the government with the passwords for these devices

16   so that the government can create forensic images of the devices.               To

17   date, defendant has not provided the USAO or the SDNY USAO with the

18   passwords for any of the inaccessible devices.

19              3.    Hard-Copy Search Warrant Evidence

20         During the execution of search warrants at defendant’s

21   residence, EA Employee 1’s residence, and Law Firm 1, IRS-CI seized

22   approximately 15 to 20 boxes of hard copy materials.           These records

23   are currently being reviewed by the Privilege Review Team to ensure

24   that they do not contain any privileged materials.           The USAO will

25   produce scanned copies of these documents to defendant as soon as

26   they are available, likely within the next three weeks.

27

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1                  4.   Reciprocal Discovery from Defendant

2          The USAO has requested that defendant produce reciprocal

3    discovery under Federal Rule of Criminal Procedure 16.            Although

4    defendant has indicated, including through posting numerous messages

5    on Twitter.com, that he is in possession of various documents he

6    intends to use in his defense, including two documents purportedly

7    signed by “Client 1” in the indictment, defendant has not yet

8    produced any reciprocal discovery to the USAO.          The USAO therefore

9    requests that the Court order defendant to produce any known

10   reciprocal discovery within two weeks of the status conference, and

11   set a final deadline for defendant to produce reciprocal discovery

12   approximately two months before trial.

13         B.      Defendant’s Statement
14                 1.   Non-Search Warrant Evidence

15           The Defendant requests that the Court order the government to

16   produce all information referenced above under “Non-Search Warrant

17   Evidence” within two weeks of the status conference.

18                 2.   Digital Search Warrant Evidence

19         As stated above, the government has refused, without an adequate

20   basis, to return and/or produce significant amounts of critical data

21   and information to the Defendant, without justification.            This

22   includes: (1) the computer server belonging to EA LLP; (2) digital

23   devices seized during defendant’s arrest on March 25, 2019; (3)

24   digital devices seized from defendant’s residence; (4) digital

25   devices seized from the residence of EA Employee 1; (5) digital

26   devices obtained from former GBUS employees.          According to the

27   government, these devices contain a total of approximately 20 TB of

28   data.      More importantly, this information constitutes nearly all of

                                             12
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1    the business files of Defendants for the last decade, including close

2    to 100 percent of the information relating to the work performed by

3    Defendant for the clients referenced in the indictment.            Defendant

4    cannot defend this case without full and complete access to this

5    information.

6          To be clear, there can be no privilege issues relating to

7    producing any of this information to Defendant because Defendant is

8    an attorney who was--and in some cases still is, as his

9    representation of those clients is ongoing-- entitled to full access

10   to this information at all relevant times.            Moreover, even if

11   Defendant has since been discharged, Defendant would still be

12   entitled to keep a copy of the information for his records and use,

13   including in connection with defending any civil claim by any client.

14                    a.    Production of Forensic Copies of the Digital
                            Devices to Defendant
15
           With respect to the EA LLP computer server and the digital
16
     devices seized from EA Employee 1’s residence (collectively, the “EA
17
     Devices”), the government’s position lacks all merit.            Defendant
18
     founded EA in 2007 with two other founding partners.           He was the
19
     Managing Partner of EA at all relevant times (since 2011) and remains
20
     the Managing Partner to this day.        He presently owns 100% of the law
21
     firm and has owned a controlling interest in the firm since 2011.
22
     Further, at all relevant times, all clients of EA were clients of
23
     Defendant.    Indeed, at all relevant times, no client could become a
24
     client of EA without Defendant’s knowledge and consent.
25
           In addition, up until his arrest on March 25, 2019, Defendant
26
     had virtually unlimited access to the information he now demands be
27
     returned/produced.     Accordingly, there can be no legitimate argument
28

                                             13
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1    that he should not be afforded access now, especially seeing as he

2    has a constitutionally guaranteed right to prepare a defense.

3          Moreover, the EA Receiver is not an attorney, cannot service or
4    represent clients, has no right to access attorney-client information
5    on the servers or in EA’s files, and has no ownership interest in the
6    firm.   More importantly, the Defendant needs full and complete access
7    to the totality of this information immediately.           Indeed, it is quite
8    frankly shocking that the Receiver and the government, both of whom

9    have limited, if any, right to this information, presently enjoy

10   unfettered access while denying Defendant access so he can prepare a

11   defense to these serious criminal charges.

12         Further, the alleged “alternative” production methods proposed

13   by the government are unworkable and unrealistic, and would result in

14   this case being delayed for years because of the amount of data

15   involved.    Defendant should not have to telegraph his defense by

16   revealing which documents he is interested in reviewing, nor should

17   the Defendant and his counsel be required to review over 20 terabytes

18   of data at the offices of the government.

19         The government must be required to produce complete forensic

20   copies of the EA Devices to Defendant within thirty (30) days of the

21   status conference.     Following this production and the review of the

22   discovery produced to date, Defendant will further meet and confer

23   with the government as to Law Firm 1’s devices.

24                    b.    Inaccessible Digital Devices
25         The warrants permitting the government to access the four

26   inaccessible devices expired long ago.         And Defendant is under no

27   obligation to now provide the passwords in exchange for a forensic

28   image of the devices or their return.         Defendant requests the return

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1    of the four devices within three (3) court days of the status

2    conference so that he may prepare his defense.

3               3.     Hard-Copy Search Warrant Evidence

4          The entirety of the documents seized from defendant’s residence

5    and EA Employee 1’s residence should be produced immediately as no

6    possible privilege issues exist as to this information for the

7    reasons previously discussed.       The government has been in possession

8    of this information for 14 weeks and it should have been produced

9    long ago as Defendant needs this information for his defense.

10         As for the materials seized from Law Firm 1, Defense counsel

11   will further meet and confer with the government following review of

12   the documents to be produced.

13              4.     Reciprocal Discovery from Defendant

14         Defendant maintains that it is entirely premature for any order

15   of reciprocal discovery, especially considering the lack of timely

16   discovery provided by the government.

17   IV.   PROPOSED TRIAL SCHEDULE
18         A.   USAO’s Proposed Trial Schedule
19         The USAO proposes the following trial schedule and other

20   relevant dates:

21         1.   Trial Date – January 28, 2020.

22         2.   Final Pretrial Conference – January 7-11, 2020 (any date

23   that week convenient for the Court).

24         3.   Government Witness List Disclosure – December 30, 2019

25   (i.e., approximately one month before trial).

26         4.   Government Exhibit Disclosure – January 21, 2020 (i.e.,

27   approximately one week before trial).

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1          5.   Expert Witness Disclosures – November 4, 2019 (i.e.,

2    approximately two weeks before pretrial motions are to be filed).

3          6.   Proposed Pretrial Motions Schedule

4               a.    Motions Due – November 18, 2019.

5               b.    Oppositions Due – December 2, 2019.

6               c.    Replies Due – December 9, 2019.

7               d.    Motions Hearing – December 23, 2019 (or any date

8    during the week of December 16-20, 2019, that is convenient for the

9    Court).

10         7.   Disclosure of Jencks Act Materials and Witness Statements –

11   December 30, 2019 (i.e., approximately one month before trial). 6

12         8.   Interim Status Conferences – August 5, 2019; September 9,

13   2019; October 7, 2019; and November 4, 2019. 7

14         The USAO believes that this schedule is appropriate and will

15   provide defendant and his counsel sufficient time to prepare for

16   trial.

17         B.   Defendant’s Proposed Trial Schedule
18         Defendant maintains that it is far too premature for the Court

19   to set a trial date in this matter, let alone in January, for the

20   following reasons:

21              1.    Significant Discovery Has Yet to Be Produced

22         As set forth above, the government has yet to produce well over

23   95% of the information and data necessary for the defense in this

24
          6 The USAO will agree to produce summaries of any additional
25   witness statements it obtains during trial preparations on a rolling
     basis thereafter.
26
          7 The interim status conferences will provide the parties an
27   opportunity to address any issues and/or foreseeable issues with the
     Court. If the parties agree in advance of one or more of the status
28   conferences that such a hearing is unnecessary, the parties will
     inform the Court in advance to vacate the hearing(s).
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1    case, including over 20 terabytes of data.          Until this information

2    and data are produced and reviewed, together with the yet to be

3    produced 302s, it is impossible for the defense to adequately

4    determine the total amount of time necessary to prepare for trial,

5    the likely motions and experts required, etc.

6               2.     The Government May Supersede the Indictment

7          The Defense has recently learned that the government is

8    eliciting testimony and evidence concerning Defendant before the

9    Grand Jury.     Defendant’s counsel has inquired as to whether this will

10   result in further charges and the government has refused to answer.

11   Obviously, any further charges would result in further discovery and

12   the need for more time for proper defense preparation.            Defendant

13   should be permitted to know the entirety of the charges against him

14   before committing to a trial date.

15              3.     Other Cases Pending Against the Defendant Will Delay
                       this Case
16
           As the Court is aware and as discussed more fully below, rather
17
     than charge the Defendant in one case, in one jurisdiction, the
18
     Department of Justice made the decision to charge him in three
19
     separate cases on two coasts.       As a result of this strategic
20
     decision, significant delay will result.         This delay is not the fault
21
     of the defense – it stems directly from the government’s approach to
22
     charging the Defendant.      Accordingly, the Defendant should not be
23
     prejudiced in his ability to adequately prepare a defense.
24
           As further discussed below, the Defendant is already scheduled
25
     to be tried in New York on November 12, 2019, in the Southern
26
     District of New York in United States v. Avenatti, No. 1:19-CR-373
27
     (the “SDNY Extortion Case” or “Nike Case”), a trial that is expected
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1    to last two weeks at a minimum. Defendant is represented in that case

2    by separate counsel, whom he is presently assisting in preparing his

3    defense.

4          It is anticipated that the government will soon be asking the

5    court in the Southern District of New York to set a trial in the

6    third case - United States v. Avenatti, No. 1:19-CR-374 (the “SDNY

7    Fraud Case”) for trial immediately following the Nike Case. A status

8    conference is scheduled in New York for July 23, 2019.            As noted

9    below, the Defendant will be moving to transfer and likely

10   consolidate the SDNY Fraud Case with this matter.

11               4.   The Existing Trial Schedule of Defense Counsel

12         Even leaving aside a possible trial date in the SDNY Fraud Case,

13   defense counsel’s trial schedule does not permit a trial in this case

14   in January as demanded by the government.         Presently, that 2019

15   schedule is as follows:

16

17         ►   September 17- U.S. v. Noori SA-CR-17-112-DMG (client is very
18   ill- unclear whether he will be well enough for trial in September,

19   which may result in delay)- 2 week bank fraud trial in Los Angles

20         ►   October 22- U.S. v. Michaels et. al. SA-CR-16-76-JVS (client
21   is Jonathan Brightman)- 3-4 week multiple defendant telemarketing

22   fraud trial - Santa Ana

23         ►   November 26- U.S. v. Le SA-CR-18-119-AG - 3 week multiple
24   defendant health care fraud trial- Santa Ana

25         ►   December 3- U.S. v. Garcia (District of Nevada - Las Vegas;
26   conflicts with U.S. v. Le therefore likely be continued to January or
27   February, 2020) - 2-3 week multiple defendant mortgage fraud trial.

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1          In addition, following the trial in the Garcia matter in Las
2    Vegas in January or February 2020, Defendant’s counsel would need at

3    least sixty (60) days to prepare for the trial in this matter, at a

4    minimum, assuming that all of the discovery demanded above is

5    produced immediately (thus allowing for immediate review).

6          As a result of the above and the need for clarity as to which

7    charges Defendant will face and the content of the discovery,

8    Defendant requests a further status conference on November 8, 2019.

9    V.    LOGISTICAL ISSUES
10         A.    The SDNY Extortion Case
11         Defendant is charged in a four-count indictment in the Southern

12   District of New York with offenses relating to an alleged scheme to

13   extort Nike Inc.     United States v. Avenatti, No. 1:19-CR-373 (the

14   “SDNY Extortion Case”).      The SDNY extortion case is set for trial on

15   November 12, 2019.     Defendant is represented by separate counsel in

16   the SDNY Extortion Case.

17               1.   Defendant’s Statement

18         The Nike case will result in significant delay of this case.

19   Defendant is actively involved in preparing for the trial in the Nike

20   matter, including by regularly meeting with his counsel (located in

21   Miami), reviewing discovery, and researching various issues.             He is

22   highly involved on a daily basis as the case is set for trial in

23   November.    The government is seeking a loss amount of over one

24   billion dollars in connection with the Nike case, which is far

25   greater than the amount here, and may result in significant

26   incarceration if Defendant is found guilty.          Accordingly, until that

27   case is tried to completion, Defendant will be unable to assist in

28   the defense in this case in any meaningful way.          There can be little

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1    question that this will result in significant delay.           Again, this

2    results not from any strategic choice by the Defendant, but rather

3    from the choices made by the government.

4          The government has been investigating this case and seizing and

5    otherwise obtaining massive amounts of data for three years, yet

6    wants to push defendant to trial in 10 months. This is based in part

7    on a general assertion from the government that it will get the

8    discovery it wants to produce, but only that discovery, to the

9    defendant in the next several months.         It is apparent that the

10   government is attempting to exert pressure on and disadvantage the

11   Defendant, by failing to produce massive amounts of discovery in a

12   timely manner in this case, proceeding to trial in the Nike case,

13   moving forward on the other case in the SDNY, and pushing to have

14   this case proceed to trial shortly after the Nike case.            This is

15   fundamentally unfair, and prejudicial.

16               2.   Government’s Statement

17         The USAO does not believe that the SDNY Extortion Case should

18   delay the trial in this case.       The SDNY Extortion Case is being

19   handled by separate defense attorneys, is based on separate conduct,

20   primarily involves different evidence and witnesses, and presents

21   separate legal issues.      The trial in the SDNY Extortion Case should

22   therefore have no impact on defendant’s ability to proceed to trial

23   in this case in a timely manner (other than defendant’s presence in

24   SDNY during his trial).      Accordingly, the USAO has proposed that this

25   case proceed to trial as soon after the SDNY Extortion Case as

26   possible.

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1          B.   The SDNY Fraud Case
2          Defendant is also charged in a two-count indictment with wire

3    fraud and aggravated identity in the Southern District of New York in

4    United States v. Avenatti, No. 1:19-CR-374 (the “SDNY Fraud Case”).

5    A trial date has not yet been set for the SDNY Fraud Case.            A status

6    conference is currently scheduled for July 23, 2019.           Defendant is

7    represented by Mr. Steward in the SDNY Fraud Case.

8               1.    Defendant’s Statement

9          Defendant anticipates filing a motion to transfer venue and/or

10   consolidate as it relates to the SDNY Fraud Case because Defendant

11   believes the case should have been charged in this district.

12   Depending on the outcome of those motions, this case may involve more

13   charges.   In the alternative, Defendant will request that the SDNY

14   Fraud Case be tried after the Nike case as it involves fewer

15   witnesses, far less discovery, and can be tried to conclusion long

16   before this case will be ready for trial.

17              2.    USAO’s Statement

18         The resolution of defendant’s anticipated motion to transfer the

19   SDNY Fraud Case to this district should have no impact on the trial

20   date in this case.     If such a motion is granted, the government would

21   be prepared to try the charges pending in the SDNY Fraud Case either

22   in a consolidated proceeding with the current charges or immediately

23   after the trial in this case. If such a motion is denied, the USAO

24   believes that this case should proceed to trial prior to the SDNY

25   Fraud Case because this case involves broader alleged criminal

26   conduct and multiple victims, including five of defendant’s former

27   clients, who suffered total financial losses of approximately $9

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1    million, and the IRS, which is owed at least $3.2 million in unpaid

2    taxes.

3    VI.   ESTIMATED LENGTH OF TRIAL
4          A.   USAO’s Estimate
5          The USAO estimates that the trial, including any defense case,

6    can be completed in three to four weeks.

7          B.   Defendant’s Estimate
8          Defendant estimates that the trial, including the defense case,

9    can be completed in six weeks.       This estimate is a rough estimate and

10   is largely dependent on the remaining discovery to be produced, as

11   well as the outcome in the motions to transfer venue/consolidate.

12   VII. NEED FOR A TIME-QUALIFIED JURY
13         A.   USAO’s Position
14         The USAO believes that a time-qualified jury is likely

15   necessary.

16         B.   Defendant’s Position
17         Defendant objects to the request for a time-qualified jury. In

18   counsel’s experience, time qualified jurors tend to favor the

19   prosecution.

20   VIII.      ADDITIONAL ISSUES TO ADDRESS AT STATUS CONFERENCE
21         A.   Defendant’s Position
22         Defendant anticipates raising two additional issues at the

23   Status Conference:     (1) a deadline by which the government must

24   supersede the indictment and (2) the immediate production of any

25   purported waivers of the attorney-client privilege by any of the

26   clients of Defendant.

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1          B.   USAO’s Position
2          The parties met-and-conferred telephonically regarding the

3    instant Joint Report on June 26, 2019.         Defendant’s portion of the

4    Joint Report, which the USAO did not receive until approximately 3:30

5    pm on July 1, 2019 (the day it was due to be filed), raises a number

6    of issues or arguments regarding discovery and other matters for the

7    very first time.     Defendant has also taken positions in the Joint

8    Report that are inconsistent with the positions defendant’s counsel

9    took during the June 26 meet-and-confer.         Because there is

10   insufficient time to respond to these issues prior to filing the

11   Joint Report, the government will be prepared to address all of the

12   issues raised in the Joint Report at the July 8, 2019, status

13   conference.

14         With respect to the specific additional issues defendant

15   identifies above, the USAO cannot comment on grand jury proceedings

16   under Federal Rule of Criminal Procedure 6(e) and believes any

17   deadline regarding the potential filing of a superseding indictment

18   would be inappropriate at this time.         As for the attorney-client

19   privilege waivers, defendant is raising this issue for the first time

20   in this Joint Report.      Although redacted copies of such waivers were

21   attached as exhibits to the search warrant applications and therefore

22   have already been produced to defendant, the government will gladly

23   reproduce the waivers to defendant on July 2, 2019.

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